                             Case 2:24-cv-00135-BSM                                               Document 1-1                                 Filed 07/25/24                            Page 1 of 1

JS44 (Rev.08/16)                                                               CIVIL COVER SHEET                                                     Q:a4 -~v-l36·ffi"'1
The JS 44 civil cover sheet and the infonnation contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                                 DEFENDANTS
    Michael Grant                                                                                                               Jason Kennedy, Ismael Clay, Cecil Langston, Nick McPherson, Cole
                                                                                                                                Strayhorn, Jarreous Johnson, all individually and officially
      (b) County of Residence ofFirst Listed Plaintiff            --'C'--'r-'-'itccte'--'n-'-'d: . :e:. :cn.:. .______           County of Residence of First Listed Defendant ---"C'--'-r.c:it .c:ec.. n_dc.. ec..______
                                                                                                                                                                                                                   n      _
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                        (IN U.S. PLAINTIFFCASESONLY)
                                                                                                                                  NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                             THE TRACT OF LAND INVOLVED.

       ( C) Attorneys {Firm Name, Address, and Telephone Number)                                                                   Attorneys (If Known)
    Lulher Sutter, Sutter & Gillham, PLLc..;, 1501 N. Pierce St., Suite 105,                                                    Jenna Adams, Attorney at Law, P.O. Box 38, North Little Rock, AR
    Little Rock, AR 72207, 501-315-1910                                                                                         72115, 501-978-6115


II. BASIS OF JURISDICTION (Place an "X"inOneBoxOnlyJ                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean "X"inOneBoxforPlaintifl
                                                                                                                              (For Diversity Cases Only)                                              and One Box for Defendant)
CJ I U.S. Government                  ~3     Federal Question                                                                                           PTF         DEF                                              PTF      DEF
            Plaintiff                          (U.S. Government Not a Party)                                             Citizen ofThis State           0 I         0 I          Incorporated or Principal Place      0 4      CJ 4
                                                                                                                                                                                   of Business In This State

02        U.S. Government             04     Diversity                                                                   Citizen of Another State          0    2    0     2     Incorporated and Principal Place              0      s   CJ s
             Defendant                         (Indicate Citizenship ofParties in Item Ill)                                                                                         of Business In Another State

                                                                                                                         Citizen or Subject of a           0    3    0     3     Foreign Nation                                0      6   06
                                                                                                                           Forei n Count
IV. NATURE OF SUIT (Place an "X" in One Box Only)
I            CONTRACT                                          TORTS                                                       FORFEITURE/PENALTY
                                                                                                                                                                Click here for· Nature
                                                                                                                                                                         BANKRUPTCY
                                                                                                                                                                                                                     -
                                                                                                                                                                                           of Suit Code Descrill!.!.Qrls
                                                                                                                                                                                 ·---· - ....... ·........................_..
                                                                                                                                                                                                                OTHER STATUTES
                                                                                                                                                                                                                              .....
                                                                                                                                                                                                                                                 I

 0 110 Insurance                      PERSONAL INJURY              PERSONAL INJURY       0 62S Drug Related Seizure       0 422 Appeal 28 USC I S8                                                       0 37S False Claims Act
 CJ 120 Marine                     CJ 3 IO Airplane             CJ 36S Personal Injury -        of Property 21 USC 881    0 423 Withdrawal                                                               0 376 Qui Tam (3 I USC
 0 130 Miller Act                  0 31 S Airplane Product             Product Liability 0 690 Other                             28 USC 157                                                                     3729(a))
 0 140 Negotiable Instrument               Liability            0 367 Health Care/                                                                                                                       0 400 State Reapportionment
 0 I SO Recovery of Overpayment 0 320 Assaul~ Libel &                  Pharmaceutical                                        PK p •. K y KTGHTS                                                          0 4 IO Antitrust
         & Enforcement of Judgment          Slander                    Personal Injury                                    0 820 Copyrights                                                               0 430 Banks and Banking
 0 I S I Medicare Act              0 330 Federal Employers'            Product Liability                                  0 830 Patent                                                                   O 4S0 Commerce
 0 I S2 Recovery of Defaulted               Liability           0 368 Asbestos Personal                                   0 840 Trademark                                                                0 460 Deportation
         Student Loans             0 340 Marine                         Injury Product                                                                                                                   CJ 470 Racketeer Influenced and
         (Excludes Veterans)       0 34S Marine Product                 Liability                    LABOR                   " " JAL sErrn, TY                                                                  Corrupt Organizations
 0 1S3 Recovery of Overpayment              Liability             PERSONAL PROPERTY 0 710 Fair Labor Standards            0 861 HIA(l39Sft)                                                              0 480 Consumer Credit
         of Veteran's Benefits     CJ 3S0 Motor Vehicle         0 370 Other Fraud                Act                      CJ 862 Black Lung (923)                                                        0 490 Cable/Sat TV
 0 160 Stockholders' Suits         CJ 35S Motor Vehicle         CJ 371 Truth in Lending  0 720 Labor/Management           0 863 DIWC/DIWW (40S(g))                                                       0 8S0 Securities/Commodities/
 0 190 Other Contract                      Product Liability    0 380 Other Personal             Relations                0 864 SSID Title XVI                                                                  Exchange
 0 I 9S Contract Product Liability 0 360 Other Personal                Property Damage   0 740 Railway Labor Act          0 86S RSJ(40S(g))                                                              0 890 Other Statutory Actions
 0 I 96 Franchise                          Injury               0 38S Property Damage    0 7S I Family and Medical                                                                                       0 891 Agricultural Acts
                                   CJ 362 Personal Injury -            Product Liability         Leave Act                                                                                               0 893 Environmental Matters
                                           Medical Malpractice                           0 790 Other Labor Litigation                                                                                    0 89S Freedom oflnforrnation
I      • REAL PROPERTY                   CIVIL RIGHTS            PRISONER PETITIONS 0 79 I Employee Retirement               FEDERAL TAX SUITS                                                                  Act
 0 210 Land Condemnation           ~ 440 Other Civil Rights        Habeas Corpus:               Income Security Act       0 870 Taxes (U.S. Plaintiff                                                    0 896 Arbitration
 0 220 Foreclosure                 0 441 Voting                 0 463 Alien Detainee                                             or Defendant)                                                           0 899 Administrative Procedure
 CJ 230 Rent Lease & Ejectment     CJ 442 Employment            0 S 10 Motions to Vacate                                  0 871 IRS-Third Party                                                                 Act/Review or Appeal of
 0 240 Torts to Land               0 443 Housing/                      Sentence                                                  26 USC 7609                                                                    Agency Decision
 0 24S Tort Product Liability              Accommodations       0 S30 General                                                                                                                            0 9S0 Constitutionality of
 0 290 All Other Real Property     0 44S Amer. w/Disabilities - 0 S3S Death Penalty              IMMIGRATION                                                                                                    State Statutes
                                           Employment              Other:                0 462 Naturalization Application
                                   0 446 Amer. w/Disabilities - CJ 540 Mandamus & Other  0 46S Other Immigration
                                           Other                0 SSO Civil Rights              Actions
                                   0 448 Education              O SSS Prison Condition
                                                                0 S60 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
    V. 0 RIG IN (Place an "X" in One Box Only)
    0 I Original            i:!(2 Removed from            0   3       Remanded from                          0 4 Reinstated or               O 5 Transferred from                O 6 Multidistrict                   0 8 Multidistrict
        Proceeding                State Court                         Appellate Court                            Reopened                        Another District                    Litigation -                        Litigation -
                                                                                                                                                    (specify)                        Transfer                            Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                           42 USC 1981, 1983, 1985,
    VI. CAUSE OF ACTION 1-B..:.r::.ie..::f:..:de:..:s::.cr..:ip..:ti..:on..:..:..of..:.c::.a::.us::.ae~:                 1986
                                                                                                        .:..:..::..:.!.....:..::..:..:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                          Violation of 1st, 4th, and 14th Amendments; Title VII
    VII. REQUESTED IN     0 CHECK IF THlS IS A CLASS ACTION        DEMAND$                                                                                                     CHECK YES only if demanded in complaint:
         COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                                         JURY DEMAND:         ~ Yes     O No
    VIII. RELATED CASE(S)
          IF ANY            (See instructions):
                                                                                                                                                                    DOCKET NUMBER




       RECEIPT#                   AMOUNT                                                                                                           JUDGE                                   MAG.JUDGE
